                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 1 of 68 Page ID #:22




                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                          JOHN L. BARBER, SB# 160317
                      2     E-Mail: John.Barber@lewisbrisbois.com
                          JOHN HAUBRICH, JR., SB# 228341
                      3     E-Mail: John.Haubrich@lewisbrisbois.com
                          TIFFANY H. ROUHI, SB# 315948
                      4     E-Mail: Tiffany.Rouhi@lewisbrisbois.com
                          633 West 5th Street, Suite 4000
                      5   Los Angeles, California 90071
                          Telephone: 213.250.1800
                      6   Facsimile: 213.250.7900
                      7 Attorneys for Defendant,
                          First IC Bank erroneously sued as First
                      8 Intercontinental Bank

                      9
                     10
                                                          UNITED STATES DISTRICT COURT
                     11
                                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                     12

                     13
                          JEE YEON SEUNG, an individual,                     Case No.
                     14
                                             Plaintiff,                      ROUHI DECLARATION IN
                     15                                                      SUPPORT OF NOTICE OF
                                    vs.                                      REMOVAL OF CIVIL ACTION
                     16                                                      UNDER 28 U.S.C. § 1441(a) and (b)
                          FIRST INTERCONTINENTAL                             [FEDERAL QUESTION AND
                     17 BANK, a Georgia Corporation; and                     DIVERSITY OF CITIZENSHIP]
                          DOES 1 to 100, inclusive,
                     18
                                             Defendant.
                     19

                     20            I, Tiffany H. Rouhi, declare as follows:
                     21            1.        I am an attorney duly admitted to practice in all of the courts of the State
                     22 of California and before the United States District Court for the Central District of

                     23 California. I am an associate with Lewis Brisbois Bisgaard & Smith LLP, attorneys

                     24 of record for Defendant FIRST IC BANK, erroneously sued as First Intercontinental

                     25 Bank, herein. The facts set forth herein are of my own personal knowledge, and if

                     26 sworn I could and would competently testify thereto.

                     27            2.        On October 28, 2022, Plaintiff Jee Yeon Seung (“Plaintiff”), by and
                     28 through her attorney, filed a civil action against First IC Bank erroneously sued as
LEWIS
BRISBOIS                  4889-5590-7393.1
BISGAARD
& SMITH LLP                 ROUHI DECLARATION IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. §
ATTORNEYS AT LAW                       1441(a) and (b) [FEDERAL QUESTION AND DIVERSITY OF CITIZENSHIP]
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 2 of 68 Page ID #:23




                      1 First Intercontinental Bank (“Defendant”) in the Superior Court of the State of

                      2 California for the County of Los Angeles, entitled Jee Yeon Seung vs. First

                      3 Intercontinental Bank., et al., Case No. 22STCV34548 (“Complaint”). My office

                      4 obtained a copy of the Complaint, Civil Case Cover Sheet, and Summons from the

                      5 Los Angeles County Superior Court. A true and correct copy of the Complaint, Civil

                      6 Case Cover Sheet, and Summons filed on October 28, 2022, by Plaintiff, in this matter

                      7 are attached as Exhibit 1.

                      8        3.     On October 28, 2022 the State Court Clerk filed an Alternate Dispute
                      9 Resolution Packet, First Amended General Order re: Mandatory Electronic Filing
                     10 Filed by Clerk, Voluntary Efficient Litigation Stipulation Packet, and Notice of Case

                     11 Assignment - Unlimited Civil Case. My office obtained a copy of the aforementioned

                     12 documents from the Los Angeles County Superior Court. True and correct copies of

                     13 these filed documents by the State Court Clerk, on October 28, 2022, in this matter

                     14 are attached as Exhibit 2.

                     15        4.     On November 1, 2022, the State Court Clerk filed a Notice of Case
                     16 Management Conference. My office obtained a copy of the aforementioned document

                     17 from the Los Angeles County Superior Court. A true and correct copy of the Notice

                     18 of Case Management Conference filed by the State Court Clerk, on November 1,

                     19 2022, in this matter is attached as Exhibit 3.

                     20        5.     On November 28, 2022, Plaintiff filed a Proof of Service of Summons,
                     21 which indicated the Summons; Complaint; Alternative Dispute Resolution (ADR)

                     22 Package; Civil Case Cover Sheet; Civil Case Cover Sheet Addendum; Notice Of Case

                     23 Assignment; First Amended General Order; Voluntary Efficient Litigation

                     24 Stipulations Packet; Order Pursuant to CCP 1054(a), Extending Time to Respond by

                     25 30 Days When Parties Agree to Early Organizational Meeting Stipulation, were

                     26 served via substitute service on November 9, 2022 and mail service on November 10,

                     27 2022. My office obtained a copy of this Proof of Service from the Los Angeles

                     28 Superior Court. A true and correct copy of this document is attached as Exhibit 4.
LEWIS
BRISBOIS                4889-5590-7393.1                         2
BISGAARD
& SMITH LLP               ROUHI DECLARATION IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. §
ATTORNEYS AT LAW                     1441(a) and (b) [FEDERAL QUESTION AND DIVERSITY OF CITIZENSHIP]
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 3 of 68 Page ID #:24




                      1            6.        On December 7, 2022, Defendant First IC Bank filed its Answer to the
                      2 Complaint. A true and correct copy of First IC Bank’s Answer is attached as Exhibit

                      3 5.

                      4            7.        To the best of my knowledge, no other defendant(s) have been either
                      5 named or served in the instant action.

                      6            8.        My office will promptly serve a copy of Defendant First IC Bank’s
                      7 Notice of Removal and all supporting papers on Plaintiff’s counsel and will also

                      8 promptly file a copy of the Notice and all supporting papers with the Clerk of the

                      9 Superior Court for the State of California, County of Los Angeles.
                     10

                     11            I declare under penalty of perjury under the laws of the United States of
                     12 America that the foregoing is true and correct and that this declaration was executed

                     13 on this 9th day of December, 2022, at Los Angeles, California.

                     14

                     15                                                 /s/ Tiffany H. Rouhi
                                                                        Tiffany H. Rouhi
                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
LEWIS
BRISBOIS                  4889-5590-7393.1                              3
BISGAARD
& SMITH LLP                 ROUHI DECLARATION IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. §
ATTORNEYS AT LAW                       1441(a) and (b) [FEDERAL QUESTION AND DIVERSITY OF CITIZENSHIP]
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 4 of 68 Page ID #:25




                        Exhibit 1
Electronically FILED by Superior Court of California, County of Los Angeles on 10/28/2022 11:31 AM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Ruiz,Deputy Clerk
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 5 of 68 Page ID #:26
                                                   22STCV34548
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Stephanie Bowick




               1      YOHAN LEE, ESQ. (SBN 259271)
                      Law Offices of Y ohan Lee
               2      5681 Beach Blvd., Suite 200
               3      Buena Park, CA 90621
                      Telephone: 714-523-2700
               4      Facsimile: 714-523-7100

               5      Attorney for Plaintiff JEE YEON SEUNG

               6
                                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
               7
                                                  COUNTY OF LOS ANGELES, CENTRAL DISTRICT
               8
                      JEE YEON SEUNG, an individual                                                  ) Case No.
               9

              10
                                                                                                    ~COMPLAINT
                                                         Plaintiff,                                  )
              11                                                                                    )        (1) VIOLATION OF CALIFORNIA
                                                vs.                                                              LABOR CODE SECTION 1102.5
                                                                                                    )
             12                                                                                      )       (2) WRONGFUL TERMINATION
                      FIRST INTERCONTINENTAL BANK, a                                                             IN VIOLATION OF PUBLIC
                                                                                                     )
              13      Georgia Corporation; AND DOES 1 TO 100,                                                    POLICY CACI No. 2430
                                                                                                    )
             14       INCLUSIVE,                                                                             (3) WHISTLEBLOWER
                                                                                                    )
                                                                                                    )            RETALIATION IN
             15.                                        Defendants                                               VIOLATION OF SARBANES-
                                                                                                    )
                                                                                                    )            OXLEY ACT 18 USC § 1514A
             16
                                                                                                    )        (4) WHISTLEBLOWER
             17                                                                                     )            RETALIATION IN
                                                                                                    )            VIOLATION OF DODD-
              18                                                                                                 FRANK ACT OF 2010 -15 USC §
                                                                                                    )
                                                                                                    )            78U-6(h)
             19
                                                                                                    )        (5) FAILURE TO PROVIDE
             20                                                                                      )           OVERTIME PAY
                                                                                                     )           CALIFORNIA LABOR CODE
             21                                                                                                  SECTION204
                                                                                                    )
                                                                                                    )        (6) FAILURE TO PROVIDE MEAL
             22
                                                                                                    )            BREAKS CALIFORNIA
             23                                                                                     )            LABOR CODE SECTION 226.7
                                                                                                    )        (7) VIOLATION OF CALIFORNIA
             24                                                                                                  BUSINESS & PROFESSIONS
                                                                                                    )
             25                                                                                     )            CODE SECTION 17200
                                                                                                    )         Demand for Jury Trial
             26      _______________________________)
             27

             28



                                                                                               1
                                                                                      COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 6 of 68 Page ID #:27




             Plaintiff JEE YEON SEUNG against Defendant FIRST INTERCONTINENTAL
 1

 2    BANK and Does 1 to 100 alleges as follows:

 3                                                PARTIES
 4
             1.      Plaintiff JEE YEON SEUNG is an individual residing in the State of California,
 5
      County of Los Angeles.
 6
             2.      Defendant FIRST INTERCONTINENTAL BANK is a business formed in
 7

 8    Georgia, with its principal place of business located at 5593 Buford Highway, Doraville,

 9    Georgia 30340. Defendant FIRST INTERCONTINENTAL BANK operates a bank ("BANK")
10
      located at 3435 Wilshire Boulevard, Suite 100, Los Angeles, California 90010 and is authorized
11
      to do business in California.
12
             3.      The true names of defendants DOES 1 through 100, inclusive, are unknown to
13

14    Plaintiff JEE YEON SEUNG at this time. Plaintiff JEE YEON SEUNG sues those defendants

15    by such fictitious names pursuant to Code of Civil Procedure § 474. Each of the defendants
16
      designated as a DOE is legally responsible for the injuries and damages to Plaintiff JEE YEON
17
      SEUNG alleged herein.
18

19           4.      On information and belief, any and all of the defendants were an agent of each of

20    the remaining defendants, and in doing the things alleged herein, was acting within the course
21    and scope of such agency, and with the permission and consent of the other co-defendants.
22
             5.      On information and belief, individual defendants are each alter egos of the
23
      organizational defendants by way of control, capitalization and/or unity of interest.
24

25                        JURISDINTERCONTINENTALTION AND VENUE

26           6.      Jurisdiction is proper in this Court because the parties are individuals residing in

27    California, all the acts alleged herein occurred in California, and the amount demanded herein
28
      exceeds the jurisdictional minimum for an unlimited civil action.


                                                       2
                                                COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 7 of 68 Page ID #:28




                7.    Venue is proper in this Court because all the parties reside and/or maintain a
 1

 2    business in the County of Los Angeles and all events and transactions giving rise to this action

 3    took place in the County of Los Angeles.
 4
                                      GENERAL ALLEGATIONS
 5
                8.    On July 14, 2022 10: 15 AM, Plaintiff J ee Y eon Seung was asked by Patty Kim
 6
      to prepare $350,000 in cash, and Plaintiff Jee Yeon Seung prepared the cash and delivered the
 7

 8    money by herself to SNJ Express Corporation, located at 1665 E Walnut St Pasadena, CA

 9    91106.
10
                9.    On July 15, 2022, 8:45 AM, Plaintiff Jee Yeon Seung, Patty Kim, Jenny Lee,
11
      Miseon Lee, Nan Kyoung Koo held a meeting regarding the issue of a Currency Transaction
12

13    Report.

14              10.   Plaintiff J ee Y eon Seung questioned Patty Kim about whose name to use for the
15    Currency Transaction Report when the customer, Harold Kim, did not ever come to the bank.
16
                11.   Patty Kim vehemently insisted that, without a doubt, the customer's name,
17
      Harold Kim, should be listed on the Currency Transaction Report, while screaming at plaintiff
18

19    J ee Y eon Seung "Who else do we list?"

20              12.   Plaintiff J ee Y eon Seung then asked if she should falsify the Currency
21
      Transaction Report, to which Patty Kim again angrily insisted that Harold Kim's name should
22
      be listed.
23
                13.   Plaintiff J ee Y eon Seung therefore had no choice but to file the Currency
24
25    Transaction Report under Harold Kim's name.

26              14.   On February 12, 2022, Patty Kim contacted Plaintiff Jee Yeon Seung for work
27
      related matters on Saturday via messaging platform KakaoTalk, without overtime compensation.
28



                                                     3
                                                 COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 8 of 68 Page ID #:29




      The communications were demanding in nature, and required Plaintiff Jee Y eon Seoung' s
 1

 2    prompt attention to the matter.

 3           15.     On July 20, 2022, Patty Kim contacted plaintiff Jee Yeon Seung for work related
 4
      matters at 6:48AM, again without overtime compensation.
 5
             16.     On July 21, 2022, Patty Kim contacted Plaintiff J ee Y eon Seung for work related
 6
      matters at 11 :31 PM, again without overtime compensation.
 7

 8           17.     On August 11, 2022, Defendant First INTERCONTINENTAL Bank terminated

 9    Plaintiff Jee Y eon Seung' s employment.
10

11                                       FIRST CAUSE OF ACTION

12                 VIOLATION OF CALIFORNIA LABOR CODE SECTION 1102.5
13
                                        (Plaintiff Against All Defendants)
14
             18.     Plaintiff JEE YEON SEUNG incorporates all the above paragraphs into this
15
16    Cause of Action.

17           19.     California Labor Code section 11 02.5(b) provides, in pertinent part, as follows:
18
                             An employer, or any person acting on behalf of the employer, shall not
19                           retaliate against an employee for disclosing information, or because the
                             employer believes that the employee disclosed or may disclose
20                           information, to a government or law enforcement agency, to a person
                             with authority over the employee or another employee who has the
21
                             authority to investigate, discover, or correct the violation or
22                           noncompliance, or for providing information to, or testifying before, any
                             public body conducting an investigation, hearing or inquiry, if the
23                           employee has reasonable cause to believe that the information discloses a
                             violation of state or federal statute, or a violation of or noncompliance
24
                             with a local, state, or federal rule or regulation, regardless of whether
25                           disclosing the information is part of the employee's job duties.

26

27
28



                                                        4
                                                  COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 9 of 68 Page ID #:30




             20.    Defendant FIRST INTERCONTINENTAL BANK targeted plaintiff JEE YEON
 1
 2    SEUNG because she identified serious ethical breaches and improprieties regarding Defendant

 3    FIRST INTERCONTINENTAL BANK's falsified Currency Transaction Reports.
 4
             21.    Defendant FIRST INTERCONTINENTAL BANK considered Plaintiff JEE
 5
      YEON SEUNG to be a whistleblower.
 6
             22.    Defendant FIRST INTERCONTINENTAL BANK retaliated against Plaintiff
 7
 8    JEE YEON SEUNG by terminating her employment on August 11, 2022.

 9                                      SECOND CAUSE OF ACTION
10
        WRONGFUL TERMINATION IN VIOLATION OF PUBLINTERCONTINENTAL
11
                            POLINTERCONTINENTALY CACI No. 2430
12

13                                  (Plaintiff Against All Defendants)

14           23.    Plaintiff JEE YEON SEUNG incorporates all the above paragraphs into this
15    Cause of Action.
16
             24.    An employer-employee relationship existed between Plaintiff JEE YEON
17
      SEUNG and Defendant FIRST INTERCONTINENTAL BANK.
18

19           25.    Defendant FIRST INTERCONTINENTAL BANK took adverse employment

20    action against Plaintiff JEE YEON SEUNG by terminating her.
21
             26.    A motivating factor for constructively terminating Plaintiff JEE YEON SEUNG
22
      was because she identified serious ethical breaches and improprieties regarding Defendant
23
      FIRST INTERCONTINENTAL BANK's violations ofbank regulations.
24

25           27.    Plaintiff JEE YEON SEUNG was terminated after the conflict with Patty Kim

26    regarding the falsified Currency Transaction Report.
27

28



                                                     5
                                               COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 10 of 68 Page ID #:31




             28.    Defendant FIRST INTERCONTINENTAL BANK's adverse employment action
 1
 2    of terminating Plaintiff JEE YEON SEUNG is a violation of public policy.

 3           29.    Defendant FIRST INTERCONTINENTAL BANK's adverse employment action
 4
      of terminating Plaintiff JEE YEON SEUNG is a violation of the Fair Employment and Housing
 5
      Act (FEHA).
 6
             30.    Defendant FIRST INTERCONTINENTAL BANK's adverse employment action
 7
 8    of terminating Plaintiff JEE YEON SEUNG is the legal cause of her damages.

 9           31.    Defendant FIRST INTERCONTINENTAL BANK's adverse employment action
10
      of constructively terminating Plaintiff JEE YEON SEUNG resulted in Plaintiff JEE YEON
11
      SEUNG suffering emotional distress.
12

13           32.    Defendant FIRST INTERCONTINENTAL BANK and/or its employees/agents

14    authorized, condoned, and ratified the unlawful conduct of the remaining defendants.   The
15    conduct of defendant FIRST INTERCONTINENTAL BANK and/or its employees/agents as
16
      described herein was malicious and/or oppressive and done with a willful and conscious
17
      disregard for Plaintiff JEE YEON SEUNG's rights.
18

19                                   THIRD CAUSE OF ACTION

20    RETALIATION IN VIOALTION OF THE SARBANES-OXLEY ACT -18 USC§ 1514A
21

22                                 (Plaintiff Against All Defendants)

23           33.    Plaintiff JEE YEON SEUNG incorporates all the above paragraphs into this
24
      Cause of Action.
25
             34.    At all relevant times, Section 806 of the Sarbanes Oxley Act of 2002 was in
26

27    effect and binding on Defendant FIRST INTERCONTINENTAL BANK. It prohibits employers

28    from discharging, demoting, threatening, harassing or in any manner discriminating or



                                                    6
                                              COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 11 of 68 Page ID #:32




      retaliating against any employee because he or she provided information, caused information to
 1

 2    be provided, or assisted in an investigation by the company relating to alleged mail fraud, wire

 3    fraud, bank fraud, securities fraud, violations of SEC rules and regulations or violations of
 4
      federal law relating to fraud against shareholders.
 5
             35.     Defendant FIRST        INTERCONTINENTAL          BANK harassed,         threatened,
 6
      discharged and retaliated against Plaintiff JEE YEON SEUNG and disclosed her identity as a
 7

 8    whistleblower, after Plaintiff JEE YEON SEUNG made oral and written complaints regarding

 9    what she reasonable believed to be illegal or unlawful conduct in violation of state and federal
10
      statutes, rules and regulations. Plaintiff JEE YEON SEUNG made these complaints to her
11
      employer, by and through its agents and employees, as well as to the SEC, the OCC and OSHA.
12

13           36.     Plaintiff JEE YEON SEUNG is informed and believes, and        th~reon   alleges tQ.at

14    because of her making complaints regarding defendant FIRST INTERCONTINENTAL
15    BANK's illegal conduct and/or conduct plaintiff JEE YEON SEUNG reasonably believed to be
16
      illegal, plaintiff JEE YEON SEUNG was discharged from her employment and/or otherwise
17
      discriminated and retaliated against by Defendant after she had made the aforesaid complaints
18

19    about illegal conduct.

20           37.     As a direct and proximate result of defendant FIRST INTERCONTINENTAL
21
      BANK's actions, Plaintiff JEE YEON SEUNG has suffered and will continue to suffer pain and
22
      mental anguish and emotional distress.
23
             38.     Plaintiff JEE YEON SEUNG has further suffered and will continue to suffer a
24

25    loss of earnings and other employment benefits, whereby Plaintiff JEE YEON SEUNG is

26    entitled to general compensatory damages in amounts to be proven at trial.
27
                                     FOURTH CAUSE OF ACTION
28



                                                       7
                                                 COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 12 of 68 Page ID #:33




       RETALIATION IN VIOLATION OF THE DODD-FRANK WALL STREET REFORM
 1
             AND CONSUMER PROTECTION ACT OF 2010 -15 USC § 78U-6{h)
2
3                                    (Plaintiff Against All Defendants)
4
             39.     Plaintiff JEE YEON SEUNG incorporates all the above paragraphs into this
5
      Cause of Action.
6
             40.     At all relevant times, Section 78u-6 of the Dodd-Frank Wall Street Reform and
7

 8    Consumer Protection Act of 2010 ("Dodd-Frank") was in effect and binding on defendant

 9    FIRST INTERCONTINENTAL BANK. It prohibits employers from discharging, demoting,
10
      suspending, threatening, harassing, directly or indirectly, or in any other manner discriminating
11
      against whistleblowers in the terms and conditions of employment because of any lawful act
12
13    done by the whistleblower in providing information to the SEC, in initiating, testifying in, or

14    assisting in any investigation or judicial or administrative act of the SEC based upon or related
15    to such information, or in making disclosures that are required or protected under SOX, Dodd-
16
      Frank, and any other law, rule or regulation subject to the jurisdiction of the SEC.
17
             41.     Plaintiff JEE YEON SEUNG is a whistleblower within the meaning of Dodd-
18
19    Frank, as evidenced by her conduct.

20           42.     Defendant FIRST        INTERCONTINENTAL            BANK harassed,       threatened,
21
      discharged and retaliated against Plaintiff JEE YEON SEUNG, and took other adverse actions
22
      against Plaintiff JEE YEON SEUNG and disclosed her identity as a whistleblower, after
23
      Plaintiff JEE YEON SEUNG made oral and written complaints regarding what she reasonable
24
25    believed to be illegal or unlawful conduct in violation of state and federal statutes, rules and

26    regulations. Plaintiff JEE YEON SEUNG made these complaints to her employer, by and
27
      through its agents and employees, as well as to the SEC, the OCC and OSHA.
28



                                                       8
                                                 COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 13 of 68 Page ID #:34




             43.     As a direct and proximate result of defendant FIRST INTERCONTINENTAL
 1
 2    BANK's actions, Plaintiff JEE YEON SEUNG has suffered and will continue to suffer pain and

 3    mental anguish and emotional distress.
 4
             44.     Plaintiff JEE YEON SEUNG has further suffered and will continue to suffer a
 5
      loss of earnings and other employment benefits, whereby Plaintiff JEE YEON SEUNG is
 6
      entitled to general compensatory damages in amounts to be proven at trial.
 7

 8                                    FIFTH CAUSE OF ACTION

 9                 FAILURE TO PROVIDE OVERTIME PAY CALIFORNIA LABOR CODE
10
                                               SECTION204
11
             45.     Plaintiff JEE YEON SEUNG incorporates all the above paragraphs into this
12

13    Cause of Action.

14           46.     At all relevant times, Plaintiff JEE YEON SEUNG has been entitled to the rights,
15    protections and benefits provided under FLSA, 29 U.S.C. § 201, et seq.
16
             47.     During the times where plaintiff JEE YEON SEUNG has worked hours in excess
17
      of her regular schedules, she has been entitled to overtime compensation at a rate of one and
18

19    one-half times her regular rate of pay for each additional hour or fraction thereof worked. 29

20    U.S.C. § 207; 29 C.F.R. § 553.230.
21
             48.     Defendant FIRST INTERCONTINENTAL BANK, regularly worked Plaintiff
22
      JEE YEON SEUNG well past 8 hours per day without providing proper overtime pay for the
23
      excess hours she worked.
24

25           49.     Defendant FIRST INTERCONTINENTAL BANK's refusal to provide overtime

26    pay at the proper rate to Plaintiff JEE YEON SEUNG wrongly deprives plaintiff JEE YEON
27
      SEUNG of the FLSA overtime compensation that is due to her at all relevant times
28



                                                     9
                                               COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 14 of 68 Page ID #:35




                                       SIXTH CAUSE OF ACTION
 1
2                  FAILURE TO PROVIDE MEAL BREAKS CALIFORNIA LABOR CODE

 3                                            SECTION 226.7
 4
             50.     Plaintiff JEE YEON SEUNG incorporates all the above paragraphs into this
 5
      Cause of Action.
 6
             51.     At all relevant times, California Labor Code section 512(a) provides that no
 7

 8    employer may not require, cause or permit an employee to work for a work period of more than

 9    five (5) hours per day without providing the employee with a meal period of not less than thirty
10
      (30) minutes, except that if the total work period per day of the employee is no more than six (6)
11
      hours, the meal period may be waived by mutual consent of both the employer and employee.
12
13           52.     During the relevant time period, Plaintiff JEE YEON SEUNG was scheduled to

14    work for a period of time in excess of six (6) hours, and was required to work for periods longer
15    than five (5) hours without an uninterrupted meal period of not less than thirty (30) minutes.
16
             53.     During the relevant time period, Defendant FIRST INTERCONTINENTAL
17
      BANK required Plaintiff JEE YEON SEUNG to work during meal periods and failed to
18
19    compensate her the full meal period premium for work performed during meal periods pursuant

20    to California Labor Code Section 226.7.
21
             54.     Defendant FIRST INTERCONTINENTAL BANK's conduct violates California
22
      Labor Code sections 226.7 and 512(a).
23
             55.     Pursuant to California Labor Code section 226.7(b), Plaintiff JEE YEON
24

25    SEUNG is entitled to recover from Defendant FIRST INTERCONTINENTAL BANK one

26    additional hour of pay at her regular rate of compensation for each workday that the meal period
27
      was not provided.
28



                                                      10
                                                COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 15 of 68 Page ID #:36




                                    SEVENTH CAUSE OF ACTION
 1

 2
       VIOLATION OF CALIFORNIA BUSINESS & PROFESSIONS CODE SECTION 17200
 3
                           (against all Defendants and DOES 1 through 100)
 4

 5           56.    Plaintiff JEE YEON SEUNG incorporates all previous allegations of this
 6
      Complaint.
 7
             57.    The acts and practices by Defendants, as alleged herein, constitute acts of unfair
 8

 9
      competition and are in violation of California Business & Professions Code § 17200.

10

11                                         PRAYER FOR RELIEF
12
             WHEREFORE, Plaintiff JEE YEON SEUNG prays for relief as follows:
13
             1.     For general and special damages in an amount according to proof at trial;
14

15           2.     For pre- and post-judgment according to proof;

16           3.     For costs of suit incurred herein;
17
             4.     For attorneys' fees;
18
             5.     For punitive damages in an amount according to proof;
19
             6.     For damages and fees pursuant to California Code of Civil Procedure section
20
21                  1021.5;

22           7.     For an award of one and one-half the rate of pay at Plaintiff JEE YEON
23
                    SEUNG's regular rate of compensation for each overtime hour for which proper
24
                    compensation was not provided;
25

26
             8.     For an award of one (1) hour of pay at Plaintiff JEE YEON SEUNG's regular

27                  rate of compensation for each workday that a meal period was not provided;

28           9.     For premium wages pursuant to California Labor Code section 226.7;


                                                     11
                                                COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 16 of 68 Page ID #:37




            10.   For statutory penalties pursuant to the California Labor Code for violations of
 1
 2                California Labor Code section 226.7;

 3          11.   For civil penalties pursuant to the California Labor Code for violations of
 4
                  California Labor Code section 226.7;
 5
            12.   For interest as provided by law; and
 6
            13.   For all other relief as this Court may deem just and appropriate.
 7

 8

 9

10
      DATED:      October 26,2022                   LAW OFFICE OF YOHAN LEE
11

12

13

14
                                                     By~ ......y ohan Lee, Esq.
                                                            Attorney for Plaintiff
15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                                   12
                                             COMPLAINT
Electronically FILED by Superior Court of California, County of Los Angeles on 10/28/2022 11:31 AM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Ruiz,Deputy Clerk
                    Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 17 of 68 Page ID #:38
                                                     22STCV34548
                                                                                                                                                                                         CM-010
              ATIORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                                      FOR COURT USE ONLY
              YOHAN LEE, ESQ. (SBN 259271)
              Law Offices of Yohan Lee, 5681 Beach Blvd., Suite 200, Buena Park, CA 90621

                        TELEPHONE NO.: 714-523-2700           FAX NO. (Optional}: 714-523-71 00
                        E-MAIL ADDREss: yohanleelaw@gmail.com
                   ATIORNEY FOR (Name): JEE YEON SEUNG
              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
               sTREET ADDRESS:      111 North Hill Street
               MAILING ADDRESS:     111 North Hill Street
              CITY AND ZIP CODE:    LOS Angeles, 90012
                  BRANCH NAME:      Stanley Mosk Courthouse
              CASE NAME:
               JEE YEON SEUNG v. FIRST INTERCONTINENTAL BANK, et al.

                      CIVIL CASE COVER SHEET                                    Complex Case Designation                          CASE NUMBER:
              [RJ Unlimited                      c=J   Limited           CJ Counter             CJ Joinder
                      (Amount                          (Amount
                                                                        Filed with first appearance by defendant                  JUDGE:
                      demanded                         demanded is
                                                                            (Cal. Rules of Court, rule 3.402)                      DEPT.:
                      exceeds $25,000)                 $25,000 or less)
                                                         Items 1-6 below must be completed (see mstruct10ns on page 2).
               1. Check one box below for the case type that best describes this case:
                    Auto Tort                                              Contract                                            Provisionally Complex Civil Litigation
                   CJ     Auto (22)                                        CJ      Breach of contracUwarranty (06)             (Cal. Rules of Court, rules 3.400-3.403)
                   CJ     Uninsured motorist (46)                          c=J     Rule 3.740 collections (09)                CJ      AntitrusUTrade regulation (03)
                    Other PI/PD/WD (Personal Injury/Property               c=J     Other collections (09)                     CJ      Construction defect (10)
                   .Damage/Wrongful Death) Tort                            c=J     Insurance coverage (18)                    CJ      Mass tort ( 40)
                    CJ    Asbestos (04)                                    c=J   Other contract (37)                          CJ      Securities litigation (28)
                    CJ    Product liability (24)                           Real Property                                      CJ     Environmental/Toxic tort (30)
                    CJ    Medical malpractice (45 )                        c=J     Eminent domain/Inverse                     CJ     Insurance coverage claims arising from the
                    CJ    Other PI/PD/WD (23)                                      condemnation (14)                                 above listed provisionally complex case
                                                                                                                                     types (41)
                    Non-PI/PD/WD (Other) Tort                              CJ      Wrongful eviction (33)                      Enforcement of Judgment
                    CJ    Business tort/unfair business practice (07)      CJ
                                                                           Other real property (26)                           CJ       Enforcement of judgment (20)
                    CJ    Civil rights (08)                           Unlawful Detainer                                        Miscellaneous Civil Complaint
                    CJ     Defamation (13)                                 CJ      Commercial (31)
                                                                                                                              CJ      RIC0(27)
                    CJ    Fraud (16)                                       CJ      Residential (32)
                                                                                                                              CJ       Other complaint (not specified above) (42)
                    CJ     Intellectual property (19)                      CJ    Drugs (38)                                    Miscellaneous Civil Petition
                    CJ   Professional negligence (25)                      Judicial Review
                                                                                                                              CJ       Partnership and corporate governance (21)
                    CJ   Other non-PI/PD/WD tort (35)                      CJ      Asset forfeiture (05)
                    Employment                                             CJ      Petition re: arbitration award (11)        CJ       Other petition (not specified above) (43)
                    [KJ   Wrongful termination (36)                        CJ      Writ of mandate (02)
                    CJ    Other employment ( 15)                           CJ      Other judicial review (39)
              2. This case CJ is          [KJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                 factors requiring exceptional judicial management:
                a. CJ Large number of separately represented parties           d. CJ Large number of witnesses
                b. CJ Extensive motion practice raising difficult or novel e. CJ Coordination with related actions pending in one or more
                          issues that will be time-consuming to resolve                    courts in other counties, states, or countries, or in a federal
                c. CJ Substantial amount of documentary evidence                           court
                                                                               f. CJ Substantial postjudgment judicial supervision
             3. Remedies sought (check all that apply): a. [KJ monetary b. CJ nonmonetary; declaratory or injunctive relief c. CJ punitive
             4. Number of causes of action (specify):
             5. This case CJ is           [KJ is not a class action suit.
             6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
             Date: 10/19/2022                                                           Ito.                              · J.•• ~.J.--
             Yohan Lee                                                                  ,.                         ~
                                   (TYPE OR PRINT NAME)                                      ----(So:::;.I-GN-A....JT'-UR,_E-O_F_P_A-RT_Y_O"'""'R-A"'""'n""""o_R_N-EY_F_O_R_P-AR_TY_)- - - -
                                                                                              NOTICE
                • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                  under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                  in sanctions.
                • File this cover sheet in addition to any cover sheet required by local court rule.
                • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.
                • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                          Page 1 of2
              Form Adopted for Mandatory Use                                                                                                Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
                Judicial Council of California                                CIVIL CASE COVER SHEET                                                Cal. Standards of Judicial Administration, std. 3.10
              CM-010 [Rev.September 1, 2021]                                                                                                                                         www.courts.ca.gov
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 18 of 68 Page ID #:39
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                        CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1 ,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22}-Personal Injury/Property              Breach of ContracUWarranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease             .            Antitrust/Trade Regulation (03)
       Uninsured Motorist ( 46) (if the                     Contract (not unla'-:'~1 detamer           Construction Defect (10)
        case involves an uninsured                              or wrongful eVtct10n)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contra~uvyarranty Breach-Se.ller                Securities Litigation (28)
        arbitration check this item                         Pla1nt1ff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead ofAuto)                                Negligent Breach of Contract!                   Insurance Coverage Claims
 Other PI/PD/WD (Personallnjuryl                            Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of ContracUWarranty                       case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection ~ase-Seller Plainti~                   Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                     . .             Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provtstonal/y                  domestic relations)
          toxic/environmental) (24)                    complex) (18).                                Sister State Judgment
      Medical Malpractice ( 45)                        Auto Subrogation                              Administrative Agency Award
           Medical Malpractice-                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other Pl/PDIWD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                              RICO (27)
           Intentional Bodily lnjury/PDIWD         Wrongful Eviction (33)                             Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other Pl/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PDJVitD (Other) Tort                           foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal           Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)               Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ-Administrative Mandamus                             Abuse
          Other Professional Malpractice               Writ-Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PI/PDIWD Tort (35)                     Writ-Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                               Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment ( 15)                           Review of Health Officer Order
                                                       Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 [Rev. September 1, 2021]                                                                                                            Page2 of2
                                                        CIVIL CASE COVER SHEET
          Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 19 of 68 Page ID #:40


                                                                                                                           CASE NUMBER




                         CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                   (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)


           This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.



                                       Applicable Reasons for Choosing Courthouse Location (Column C)
 1.        Class Actions must be filed in the Stanley Mask Courthouse, Central District.       7.        Location where petitioner resides.

 2.        Permissive filing in Central District.                                              8.        Location wherein defendant/respondent functions wholly.

 3.        Location where cause of action arose.                                               9.        Location where one or more ofthe parties reside.

           Location where bodily injury, death or damage occurred.                             10.       Location of Labor Commissioner Office.
 4.

 5.        Location where performance required, or defendant resides.                          11.       Mandatory filing location (Hub Cases- unlawful detainer, limited
                                                                                                         non-collection, limited collection).
 6.        Location of property or permanently garaged vehicle.




                                       A                                                             B
                                                                                                                                                    ..
                                                                                                                                                               c
                            Civil Case Cover                                                Type of Action                                                AP~Ii~abl~
                            Sheet Case Type                                                (check onlyone)                                               Reasoris (see
                                                                                                                       :                                 Step :3 above)
                                  Auto (22)             D 2201 Motor Vehicle- Personal Injury/Property Damage/Wrongful                                        1,4
  t::                                                   Death
  0
  1-
  ....
  0
      j
                           Uninsured Motorist           D 4601 Uninsured Motorist- Personal Injury/Property
  <C                              (46)                  Damage/Wrongful Death

                              Other Personal            D 2301 Premise Liability (e.g., dangerous conditions of property,                                     1, 4
  ~                          Injury/ Property           slip/trip and fall, dog attack, etc.)
   ...GJ..c:                Damage/ Wrongful
   C.+oo
   0
   ...     "'
           QJ                   Death (23)              D 2302 Intentional Bodily Injury/Property Damage/Wrongful Death
  c.c                                                   (e.g., assault, battery, vandalism, etc.)
  ">:"5
   ........
   ::J bO
  ...... c                                              D 2303 Intentional Infliction of Emotional Distress
   c 0
  ~~
  c......,
   0       QJ
                                                        D 2304 Other Personal Injury/Property Damage/Wrongful Death
   ~       bO
  QJ
  c.       E
           "'                                           D 2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing
  ... "'
  ~c                                                    Facility
  +-'
  0
                                                        D 2306 Intentional Conduct- Sexual Abuse Case (in any form)



LASC CIV 109 Rev. 10/22                               CIVIL CASE COVER SHEET ADDENDUM                                                             LASC Local Rule 2.3
For Mandatory Use
                                                         AND STATEMENT OF LOCATION
    Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 20 of 68 Page ID #:41

                                                                                              CASE NUMBER




                              A                                                   B                                        c
                     Civil Case Cover                                   Type of Action                                Applicable
                     Sheet Case Type                                   (check only one)                              Reasons (see
                                                                                                                     Step 3 above)
                                             D 2307 Construction Accidents                                                1,4
                                             D 2308 Landlord- Tenant Habitability (e.g., bed bugs, mold, etc.)            1,4
                    Product Liability (24)   D 2401 Product Liability (not asbestos or toxic/ environmental)              1, 4

                                                                                                                         1, 3, 5
                                             D 2402 Product Liability- Song-Beverly Consumer Warranty Act (CA
                                             Civil Code §§1790-1795.8) (Lemon Law)

                    Medical Malpractice      D 4501 Medical Malpractice- Physicians & Surgeons                            1, 4
                            (45)
                                             D 4502 Other Professional Health Care Malpractice                            1,4

             ..c:    Business Tort (07)      D 0701 Other Commercial/Business Tort (not fraud or breach of               1, 2, 3
    1a
    GJ
                                             contract)
 ~ ~~                 Civil Rights (08)      D 0801 Civil Rights/Discrimination                                          1, 2, 3
 o a. b"o     Defamation (13)    D 1301 Defamation (slander/libel)                                        1, 2, 3
 ~GJo..Oo
         e
       c ~ ~--------------4--------------------------------------------------+----------~
                      ()         D
 ~ ~~ ~ ~----Fr_a_u_d_1_6____- 4____               (n_o_c_o_n_tr_a_ct_)______________________________+-___1_,_2,_3__~
                                   16_0_1_F_r_a_ud__
 ~ .~        l Professional      D 2501 Legal Malpractice                                                 1, 2, 3
              (U      Negligence (25)
         -    E                              D 2502 Other Professional Malpractice (not medical or legal)                1, 2, 3
              (U
             c           Other (35)          D 3501 Other Non-Personal Injury/Property Damage Tort                       1, 2, 3
 .....                  Wrongful             Ql 3601 Wrongful Termination                                                1, 2, 3
  c
  GJ                 Termination (36)
  E                 Other Employment
  >                                          !:ll 1501 Other Employment Complaint Case                                   1, 2, 3
  0
 Q.                        (15)
  E                                          !:ll 1502 Labor Commissioner Appeals                                          10
 w
                    Breach of Contract I     D 0601 Breach of Rental/Lease Contract (not unlawful detainer or             2, 5
                       Warranty (06)         wrongful eviction)
                      (not insurance)
                                             D 0602 Contract/Warranty Breach- Seller Plaintiff (no                        2,5
                                             fraud/negligence)
                                             D 0603 Negligent Breach of Contract/Warranty (no fraud)                     1, 2, 5
                                             D 0604 Other Breach of Contract/Warranty (no fraud/ negligence)             1, 2, 5
                                             D 0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)                2, 5
                      Collections (09)       D 0901 Collections Case- Seller Plaintiff                                  5, 6,11
                                             D 0902 Other Promissory Note/Collections Case                               5,11
                                             D 0903 Collections Case- Purchased Debt (charged off consumer debt         5, 6, 11
                                             purchased on or after January 1, 2014)
                                             D 0904 Collections Case- COVID-19 Rental Debt                                5, 11
                    Insurance Coverage       D 18011nsurance Coverage (not complex)                                     1, 2, 5,8
                           (18)




LASCCIV109Rev.10/22                          CIVIL CASE COVER SHEET ADDENDUM                                     LASC Local Rule 2.3
For Mandatory Use
                                                AND STATEMENT OF LOCATION
      Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 21 of 68 Page ID #:42

                                                                                         CASE NUMBER




                               A                                            B                                      c
                     Civil Case Cover                                 Type of Action                          Applicable
                     Sheet Case Type                                 (check only one)                        Reasons (see
                                                                                                             Step 3 above)
                    Other Contract (37)   D 3701 Contractual Fraud                                             1, 2, 3, 5
 ....,::0
  u      Q)
  tO
       c
         ::J                              D 3702 Tortious Interference                                         1, 2, 3, 5
 ....,
  c ·-
  :I..
         +-'
  0      §                                D 3703 Other Contract Dispute (not breach/insurance/fraud/          1, 2, 3, 8, 9
 u~
                                          negligence)
                     Eminent Domain/      D 1401 Eminent Domain/Condemnation                                      2, 6
                         Inverse                                                Number of Parcels
  >
 ....,              Condemnation (14)
  :I..
  Q)                Wrongful Eviction     D 3301 Wrongful Eviction Case                                           2, 6
  c.
  0
  :I..
                              (33)
 c..                      Other Real      D 2601 Mortgage Foreclosure                                             2,6
 n;
  Q)
 a::                     Property (26)    0 2602 Quiet Title                                                      2, 6
                                          D 2603 Other Real Property (not eminent domain,                         2, 6
                                          landlord/tenant, foreclosure)
                    Unlawful Detainer     D 3101 Unlawful Detainer- Commercial (not drugs or wrongful            6, 11
  :I..              -Commercial (31)      eviction)
  Q)
  c                 Unlawful Detainer     D 3201 Unlawful Detainer- Residential (not drugs or wrongful           6,11
 ·;
 ....,
  Q)                -Residential (32)     eviction)
 c
                    Unlawful Detainer     D 3401 Unlawful Detainer- Post Foreclosure                            2, 6,11
 ....
 3
  ::
  tO
                    -Post Foreclosure
 "E                           (34)
 :,)
                    Unlawful Detainer     D 3801 Unlawful Detainer- Drugs                                       2, 6, 11
                      -Drugs (38}
                     Asset Forfeiture     D 0501 Asset Forfeiture Case                                           2,3,6
                           (OS)
                       Petition re        D 1101 Petition to Compel/Confirm/Vacate Arbitration                    2, 5
                     Arbitration (11)
  ::
  Q)                Writ of Mandate       D 0201 Writ- Administrative Mandamus                                    2, 8
 ·:;
  Q)                          (02)        D 0202 Writ- Mandamus on Limited Court Case Matter                        2
 a::
 n;                                       D 0203 Writ- Other Limited Court Case Review                              2
 ·u
 :c
 -~                      Other Judicial
                          Review (39)
                                          D 3901 Other Writ/Judicial Review

                                          D 3902 Administrative Hearing
                                                                                                                  2,8

                                                                                                                  2,8

                                          D 3903 Parking Appeal                                                   2,8

                     Antitrust/Trade      D 0301 Antitrust/Trade Regulation                                      1, 2, 8
 => ><
  tO
        c0Q)         Regulation (03)
  c
  0 -
    c. ·-
       ....,
 ·- E          ro     Asbestos (04)       D 0401 Asbestos Property Damage                                         1, 11
 ·$       0    -~
 eu:.:i                                                                                                           1, 11
 c..                                      D 0402 Asbestos Personal Injury/Wrongful Death


LASC CIV 109 Rev.l0/22                    CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
For Mandatory Use
                                             AND STATEMENT OF LOCATION
       Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 22 of 68 Page ID #:43

                                                                                      CASE NUMBER




                             A                                             B                                       c
                     Civil Case Cover                              Type of Action                             Applicable
                     Sheet Case Type                              (check only one)                           Reasons (see
                                                                                                             Step 3 above)
                      Construction        0 1001 Construction Defect
                       Defect (10)
                    Claims Involving      0 4001 Claims Involving Mass Tort
                     Mass Tort (40)
                  Securities Litigation   0 2801 Securities Litigation Case
                          (28)
                       Toxic Tort         0 3001 Toxic Tort/Environmental
                  Environmental (30)
                  Insurance Coverage      0 41011nsurance Coverage/Subrogation (complex case only)
                      Claims from
                   Complex Case (41)
                    Enforcement of        0 2001 Sister State Judgment
 ~
  0                  Judgment (20)        0 2002 Abstract of Judgment
 .........
  c c
  C1J       C1J                           0 2003 Confession of Judgment (non-domestic relations)
  E   E
  C1J b.O
  ~-g                                     0 2004 Administrative Agency Award (not unpaid taxes)
 .,E .....                                0 2005 Petition/Certificate for Entry of Judgment Unpaid Tax
  c
 w
                                          0 2006 Other Enforcement of Judgment Case
                          RICO (27)       0 2701 Racketeering (RICO) Case
            ~
  ~    .....
  :;:, c
   0 ·-
                    Other Complaints      0 4201 Declaratory Relief Only
   cv.!!:!           (not specified
   c c.                                   0 4202 Injunctive Relief Only (not domestic/harassment)
 ..!!:! E              above) (42)
 -          0                             0 4203 Other Commercial Complaint Case (non-
  ~u
  ~-
                                          tort/noncomplex)
 ~ :~
            u
                                          0 4304 Other Civil Complaint (non-tort/non-complex)
                       Partnership        0 2101 Partnership and Corporation Governance Case
     ~
  c                    Corporation
     0
 ';p                 Governance (21)
 ';p
  C1J
 c.                  Other Petitions      0 4301 Civil Harassment with Damages
 '$                   (not specified      0 4302 Workplace Harassment with Damages                  ,
 u                     above) (43)
     ~
     :;:,                                 0 4303 Elder/Dependent Adult Abuse Case with Damages
     0
   c
     C1J                                  0 4304 Election Contest                                                  2
 ..!!:!                                   0 4305 Petition for Change of Name/Change of Gender
 'ii
   u
     ~
                                          0 4306 Petition for Relief from Late Claim Law
 ~
                                          0 4307 Other Civil Petition




LASC CIV 109 Rev. 10/22                   CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
For Mandatory Use
                                             AND STATEMENT OF LOCATION
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 23 of 68 Page ID #:44


  SHORT TITLE                                                                        CASE NUMBER
  Seung vs. First Intercontinental Bank


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
 C for the type of action that you have selected. Enter the address, which is the basis for the filing location
 including zip code. (No address required for class action cases.)

  REASON:                                                         ADDRESS:
                                                                                3435 Wilshire Boulevard, Suite 100
  [1f 1. [1] 2. Cll 3. D 4. D 5. D 6. D 7. D 8. D 9. D 10. D 11


  CITY:                               ISTATE:       I ZIP CODE:
  Los Angeles                             CA          90010

 Step 5: Certification of Assignment: I certify that this case is properly filed in the          _c_e_n_tra_l_ _ _ _ __
 District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et se           nd LASC Local
 Rule 2.3(a)(1)(E)]

 Dated: 10/26/2022
                                                                          (SI

 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
 YOUR NEW COURT CASE:

      1. Original Complaint or Petition.
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet Judicial Council form CM-010.
      4. Civil Case Cover sheet Addendum and Statement of Location form LASC CIV 109 (10/22).
      5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
      6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
         petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
         addendum must be served along with the Summons and Complaint, or other initiating pleading in the
           case.




LASC CIV 109 Rev.10/22                    CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
For Mandatory Use
                                             AND STATEMENT OF LOCATION
Electronically FILED by Superior Court of California, County of Los Angeles on 10/28/2022 11:31 AM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Ruiz,Deputy Clerk
                  Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 24 of 68 Page ID #:45
                                                   22STCV34548



                                                                                                                                                                         SUM-100
                                                                   SUMMONS                                                                        FOR COURT USE ONLY
                                                                                                                                              (SOLO PARA USO DE LA CORTE)
                                                           (CITACION JUDICIAL)

             NOTICE TO DEFENDANT:
             (AVISO AL DEMANDADO):
             FIRST INTERCONTINENTAL BANK, a Georgia Bank; AND Does 1 to 100, Inclusive


             YOU ARE BEING SUED BY PLAINTIFF:
             (LO ESTA DEMANDANDO EL DEMANDANTE):
             JEE YEON SEUNG, an individual

              NOTICE! You have been sued. The court may decide against you without your being heard unless you responc within 30 days. Read the information
              below.
                 You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
              served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
              case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
              Online Self-Help Center ( www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
              court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
              be taken without further warning from the court.
                 There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
              referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
              these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
              (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
              costs on any settlement or arbitration award of $1 0,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
              ;A VISOI Lo han demandado. Sino responde dentro de 30 dfas, Ia corte puede decidir en su contra sin escuchar su version. Lea Ia informacion a
              continuacion.
                 Tiene 30 DiAS DE CALENDAR/0 despues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
              corte y hacer que se entregue una copia at demandante. Una carla o una 1/amada telef6nica no to protegen. Su respuesta por escrito tiene que estar
              en formato legal correcto si desea que procesen su caso en Ia corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
              Puede encontrar estos formularios de Ia corte y mas informacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en Ia
              biblioteca de /eyes de su condado o en Ia corte que le quede mas cerca. Si no puede pagar Ia cuota de presentacion, pida a/ secretario de Ia corte que
              /e de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y Ia corte le podra
              quitar su sue/do, dinero y bienes sin mas advertencia.
                 Hay otros requisitos legales. Es recomendable que flame a un abogado inmediatamente. Sino conoce a un abogado, puede 1/amar a un servicio de
              remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
              programa de servicios legales sin fines de /ucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
              (www.lawhelpcalifornia.org), en el Centro de Ayuda de /as Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con Ia corte o el
              colegio de abogados locales. A VI SO: Por ley, Ia corte tiene derecho a reclamar /as cuotas y los costos exentos por imponer un gravamen sobre
              cua/quier recuperaci6n de $10,000 o mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
              pagar el gravamen de Ia corte antes de que Ia corte pueda desechar el caso.
                                                                                                                  CASE NUMBER:
             The name and address of the court is:                                                                (Numero del Caso):
             (EI nombre y direcci6n de Ia corte es): Los Angeles County Superior Court
             111 N. Hill St., Los Angeles, CA 90012

             The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
             (EI nombre, Ia direcci6n y el numero de teletono del abogado del demandante, o del demandante que no tiene abogado, es):
             Yohan Lee, 5681 Beach Blvd, Suite 200, Buena Park, CA 90621, 714-523-2700
             DATE: 10/28/2022                                                    Clerk, by                                                                                , Deputy
             (Fecha)                                                             (Secretario)                                                                             (Adjunto)
             (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
             (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
               [SEAL!                                NOTICE TO THE PERSON SERVED: You are served
                                                     1.    c=J
                                                             as an individual defendant.
                                                     2.    c=J    as the person sued under the fictitious name of (specify):

                                                     3.    [KJ on behalf of (specify): FIRST INTERCONTINENTAL BANK
                                                           under:[]] CCP 416.10 (corporation)                                    CJ    CCP 416.60 (minor)
                                                                   CJ CCP 416.20 (defunct corporation)                           CJ    CCP 416.70 (conservatee)
                                                                   CJ CCP 416.40 (association or partnership)                    CJ    CCP 416.90 (authorized person)
                                                                   c=Jother (specify):
                                                     4.    [KJ by personal delivery on (date):
                                                                                                                                                                              Page 1 of1
              Form Adopted for Mandatory Use                                                                                                       Code of Civil Procedure§§ 412.20, 465
                Judicial Council of California
                                                                                        SUMMONS                                                                        www. courts. ca.gov
                SUM-100 [Rev. July 1, 2009]
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 25 of 68 Page ID #:46




                        Exhibit 2
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 26 of 68 Page ID #:47

                    Superior Court of California, County of Los Angeles


                          ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                 INFORMATION PACKAGE
 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person’s concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                    • want to work out a solution but need help from a neutral person.
                    • have communication problems or strong emotions that interfere with resolution.
                 Mediation may not be appropriate when the parties
                    • want a public trial and want a judge or jury to decide the outcome.
                    • lack equal bargaining power or have a history of physical/emotional abuse.



    LASC CIV 271 Rev. 02/22
    For Mandatory Use
                                                                                                                 Page 1 of 2
   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 27 of 68 Page ID #:48




                                   How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
              cases).

                    •     ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                    •     Mediation Center of Los Angeles Program Manager info@mediationLA.org
                          (833) 476-9145


      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
               https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-23October19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about (ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator’sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences (MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court’s MSC
      programs for civil cases, visit ht tp://www.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.ht m


LASC CIV 271 Rev. 02/22
For Mandatory Use                                                                                               Page 2 of 2
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 28 of 68 Page ID #:49
                                                                                                  2019-GEN-O14-00

                                                                                     FILED
                                                                              Superior Court of California
1                                                                               County of Los Angeles

2                                                                                  MAY. 0 .3 2019
 3
4

 5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                    FOR THE COUNTY OF LOS ANGELES
 7
 8    IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
      - MANDATORY ELECTRONIC FILING )
 9    FOR CIVIL                        )
                                                     )
10                                                   )
11    ___________                                    )

12           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13    documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14    Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15    Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16    All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17    following:
18    1) DEFINITIONS
19       a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20           quickly locate and navigate to a designated point of interest within a document.
21       b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
22           portal, that gives litigants access to the approved Electronic Filing Service Providers.
23       c) "Electronic Envelope" A transaction through the electronic service provider for submission
24           of documents to the Court for processing which may contain one or more PDF documents
25           attached.
26       d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27           document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 29 of 68 Page ID #:50
                                                                                                2019-GEN-O14-00



1       e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2           person or entity that receives an electronic filing from a party for retransmission to the Court.
3           In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4           agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5        f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6           Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7           (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8           2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9          process attached to or logically associated with an electronic record and executed or adopted
10          by a person with the intent to sign the electronic record.
11       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12          in a hypertext or hypermedia document to another in the same or different document.
13       h) "Portable Document Format" A digital document format that preserves all fonts,
14          formatting, colors and graphics of the original source document, regardless of the application
15          platform used.
16    2) MANDATORY ELECTRONIC FILING
17       a) Trial Court Records
18          Pursuant to Government Code section 68150, trial court records may be created, maintained,
19          and preserved in electronic format. Any document that the Court receives electronically must
20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22       b) Represented Litigants
23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24          electronically file documents with the Court through an approved EFSP.
25       c) Public Notice
26          The Court has issued a Public Notice with effective dates the Court required parties to
27          electronically file documents through one or more approved EFSPs. Public Notices containing
28           effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.


                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 30 of 68 Page ID #:51
                                                                                                  2019-GEN-O 14-00



1          d) Documents in Related Cases
2             Documents in related cases must be electronically filed in the eFiling portal for that case type if
3             electronic filing has been implemented in that case type, regardless of whether the case has
4             been related to a Civil case.
5     3) EXEMPT LITIGANTS
6          a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7             from mandatory electronic filing requirements.
8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10            from filing documents electronically and be permitted to file documents by conventional
11            means if the party shows undue hardship or significant prejudice.

12    4) EXEMPT FILINGS
13         a) The following documents shall not be filed electronically:
14            i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                   Civil Procedure sections 170.6 or 170.3;
16            ii)    Bonds/Undertaking documents;
17            iii)   Trial and Evidentiary Hearing Exhibits
18            iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                   that will be handled by a Writs and Receivers department in the Mask courthouse; and
20            v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                   electronically filed. A courtesy copy of the electronically filed motion or application to
22                   submit documents conditionally under seal must be provided with the documents
23                   submitted conditionally under seal.
24         b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and /or served conventionally in
26    paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27    //
28    //


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 31 of 68 Page ID #:52
                                                                                                 2019-GEN-O14-00



1     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2        Electronic filing service providers must obtain and manage registration information for persons
3        and entities electronically filing with the court.
4     6) TECHNICAL REQUIREMENTS
5        a) Electronic documents must be electronically filed in PDF, text searchable format when
6            technologically feasible without impairment of the document's image.
7        b) The table of contents for any filing must be bookmarked.
8        c) Electronic documents, including but not limited to, declarations, proofs of service, and
9            exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10           3.l 110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11           item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12           bookedmarked item and briefly describe the item.
13       d) Attachments to primary documents must be bookmarked. Examples include, but are not
14           limited to, the following:
15           i)     Depositions;
16           ii)    Declarations;
17           iii)   Exhibits (including exhibits to declarations);
18           iv)    Transcripts (including excerpts within transcripts);
19           v)     Points and Authorities;
20           vi)    Citations; and
21           vii) Supporting Briefs.
22       e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23           encouraged.
24       f) Accompanying Documents
25           Each document acompanying a single pleading must be electronically filed as a separate
26           digital PDF document.
27       g) Multiple Documents
28           Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                          4
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 32 of 68 Page ID #:53
                                                                                                 2019-GEN-O14-00



1        h) Writs and Abstracts
2           Writs and Abstracts must be submitted as a separate electronic envelope.
3        i) Sealed Documents
4           If and when a judicial officer orders documents to be filed under seal, those documents must be
5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6           the documents as sealed at the time of electronic submission is the submitting party's
7           responsibility.
8        j) Redaction
 9          Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10          redact confidential information (such as using initials for names of minors, using the last four
11          digits of a social security number, and using the year for date of birth) so that the information
12          shall not be publicly displayed.
13    7) ELECTRONIC FILING SCHEDULE
14       a) Filed Date
15          i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16              shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17              document received electronically on a non-court day, is deemed to have been effectively
18              filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
19              Civ. Proc. § 1010.6(b)(3).)
20          ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21              course because of: (1) an interruption in service; (2) a transmission error that is not the
22              fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23              order, either on its own motion or by noticed motion submitted with a declaration for Court
24              consideration, that the document be deemed filed and/or that the document's filing date
25              conform to the attempted transmission date.
26    8) EX PARTE APPLICATIONS
27       a) Ex parte applications and all documents in support thereof must be electronically filed no later
28          than 10:00 a.m. the court day before· the ex parte hearing.


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 33 of 68 Page ID #:54
                                                                                               2019-GEN-014-00



1        b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2           day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3           application must be provided to the court the day of the ex parte hearing.
4     9) PRINTED COURTESY COPIES
5        a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled.    If

7           the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8           by 10:00 a.m. the next business day.
9        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10          electronic submission) is required for the following documents:
11           i)   Any printed document required pursuant to a Standing or General Order;
12          ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                pages or more;
14         iii)   Pleadings and motions that include points and authorities;
15         iv)    Demurrers;
16          v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17          vi)   Motions for Summary Judgment/Adjudication; and
18         vii)   Motions to Compel Further Discovery.
19       c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20          additional documents. Courtroom specific courtesy copy guidelines can be found at
21          www.lacourt.org on the Civil webpage under "Courtroom Information."
22    0) WAIYER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23       a) Fees and costs associated with electronic filing must be waived for any litigant who has
24           received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.§
25           1010.6(d)(2).)
26       b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27           section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(t), may be
28           electronically filed in any authorized action or proceeding.

                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 34 of 68 Page ID #:55
                                                                                                2019-GEN-O 14-00




1     1) SIGNATURES ON ELECTRONIC FILING
2        For purposes of this General Order, all electronic filings must be in compliance with California
3        Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4        Division of the Los Angeles County Superior Court.
5

6            This First Amended General Order supersedes any previous order related to electronic filing,
7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8     Supervising Judge and/or Presiding Judge.
9
10    DATED: May 3, 2019
11
                                                           Presiding Judge
12

13
14

15
16

17

18
19

20
21

22
23

24
25

26
27
28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 35 of 68 Page ID #:56



                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                               voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

                                  The    following   organizations    endorse    the   goal   of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                               Los Angeles County Bar Association Litigation Section
Southern California
Defense Counsel

                                          Los Angeles County Bar Association
                                             Labor and Employment Law Section

Association of
Business Trial Lawyers             Consumer Attorneys Association of Los Angeles


                                        Southern California Defense Counsel


                                        Association of Business Trial Lawyers

California Employment
Lawyers Association
                                    California Employment Lawyers Association


   LACIV 230 (NEW)
   LASC Approved 4-11
   For Optional Use
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 36 of 68 Page ID #:57



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION – EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered “core.” In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                “core.”);

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11               STIPULATION – EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                      Page 1 of 2
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 37 of 68 Page ID #:58
SHORT TITLE:                                                                      CASE NUMBER:




               discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourt.org under “Civil” and then under “General Information”).

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to ____________________ for the complaint, and ______________________ for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civil”,
               click on “General Information”, then click on “Voluntary Efficient Litigation Stipulations”.

3.             The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties’
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to “days” mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)


LACIV 229 (Rev 02/15)
LASC Approved 04/11          STIPULATION – EARLY ORGANIZATIONAL MEETING                                  Page 2 of 2
      Print                    Save                                                                     Clear
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 38 of 68 Page ID #:59

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:

                     STIPULATION – DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION – DISCOVERY RESOLUTION
      For Optional Use                                                                                                     Page 1 of 3
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 39 of 68 Page ID #:60
SHORT TITLE:                                                                   CASE NUMBER:




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a “specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



LACIV 036 (new)
LASC Approved 04/11             STIPULATION – DISCOVERY RESOLUTION
For Optional Use                                                                              Page 2 of 3
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 40 of 68 Page ID #:61
SHORT TITLE:                                                       CASE NUMBER:




The following parties stipulate:

Date:
                                                  
                (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
Date:
                                                  
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                  
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                  
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                  
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:
                                                  
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:
                                                  
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)




        Print             Save                                                             Clear


LACIV 036 (new)
LASC Approved 04/11            STIPULATION – DISCOVERY RESOLUTION
For Optional Use                                                                            Page 3 of 3
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 41 of 68 Page ID #:62



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                        Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                      CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request: ________________                         (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference: ________________                                (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
             Print                      Save                                                                                          Clear
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 42 of 68 Page ID #:63



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER – MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least ____ days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      LASC Approved 04/11               STIPULATION AND ORDER – MOTIONS IN LIMINE
      For Optional Use                                                                                                     Page 1 of 2
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 43 of 68 Page ID #:64
SHORT TITLE:                                                   CASE NUMBER:




The following parties stipulate:

Date:
                                                
               (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)



THE COURT SO ORDERS.

  Date:
                                                               JUDICIAL OFFICER




       Print              Save                                                       Clear

LACIV 075 (new)
LASC Approved 04/11      STIPULATION AND ORDER – MOTIONS IN LIMINE                   Page 2 of 2
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 44 of 68 Page ID #:65




 2
                                                                         FILED
                                                                      LOS ANGELES SUPERIOR COURT

 3                                                                            MAY 11 2011
 4                                                                       JOHN A CLAAKE,AL.EAK
                                                                             :"1( j~.YtU1tJ,N
 5                                                                     BY NANCV~AVAARO, DEPUTY

 6

 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                             FOR THE COUNTY OF LOS ANGELES
 9
       General Order Re                           )         ORDER PURSUANT TO CCP 1054(a),
10
       Use of Voluntary Efficient Litigation      )         EXTENDING TIME TO RESPOND BY
11     Stipulations                               )         30 DAYS WHEN PARTIES AGREE
                                                  )         TO EARLY ORGANIZATIONAL
12                                                )         MEETING STIPULATION
13

14
              Whereas the Los Angeles Superior Court and the Executive Committee of the
15
       Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
       drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18     use in general jurisdiction civil litigation in Los Angeles County;

19            Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
       Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
       Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23     Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24     Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
       litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
       promote communications and procedures among counsel and with the court to fairly
27
       resolve issues in their cases;"
28

                                                      -1-

                                  0RDER PURSUANT TO CCP 1054(a)
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 45 of 68 Page ID #:66




              Whereas the Early Organizational Meeting Stipulation is intended to encourage

 2     cooperation among the parties at an early stage in litigation in order to achieve

 3     litigation efficiencies;
 4
              Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
       will promote economic case resolution and judicial efficiency;
 6

 7
              Whereas, in order to promote a meaningful discussion of pleading issues at the

 8     Early Organizational Meeting and potentially to reduce the need for motions to

 9     challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
       Organizational Meeting before the time to respond to a complaint or cross complaint
11
       has expired;
12

13
              Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14     which an action is pending to extend for not more than 30 days the time to respond to
15
       a pleading "upon good cause shown";
16
              Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
       days the time to respond to a complaint or to a cross complaint in any action in which
18

19     the parties have entered into the Early Organizational Meeting Stipulation. This finding

20     of good cause is based on the anticipated judicial efficiency and benefits of economic
21
       case resolution that the Early Organizational Meeting Stipulation is intended to
22
       promote .
23
              IT IS HEREBY ORDERED that, in any case in which the parties have entered
24

25     into an Early Organizational Meeting Stipulation, the time for a defending party to

26     respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                  -2-

                                  0RDER PURSUANT TO CCP 1054(a)
           Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 46 of 68 Page ID #:67
,,.

             by Code of Civil Procedure section 1054(a) without further need of a specific court

       2     order.




       :     DATED:   ltu5 ~ Joi/                     Carolyn B. Kuh Supervising Judge of the
                                                      Civil Departments, Los Angeles Superior Court
       6

       7

       8

       9

      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25

      26

      27

      28

                                                       -3-

                                      0RDER PURSUANT TO CCP 1054(a)
       Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 47 of 68 Page ID #:68
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 22STCV34548

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Stephanie M. Bowick                19




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       10/28/2022
    on _____________________________                                        S. Ruiz
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
       Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 48 of 68 Page ID #:69
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 49 of 68 Page ID #:70




                        Exhibit 3
      Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 50 of 68 Page ID #:71
                                                                                                      Reserved for Clerk’s File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF:
 Jee Yeon Seung
 DEFENDANT:
 FIRST INTERCONTINENTAL BANK
                                                                                               CASE NUMBER:
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             22STCV34548
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                     Date:                     Time:                  Dept.:
                                             04/19/2023                8:30 AM                  19

NOTICE TO DEFENDANT:            THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of
Court, rule 2.2 et seq.


        11/01/2022
Dated: ________________________                                                  ________________________________
                                                                                           Judicial Officer

                                                    CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

✔                                                                 Los Angeles
    by depositing in the United States mail at the courthouse in _______________________,   California, one copy of the original
    filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

    by personally giving the party notice upon filing of the complaint.
     Yohan Lee
     5681 Beach Blvd.,
     Suite 200
     Buena Park, CA 90621                                                  Sherri R. Carter, Executive Officer / Clerk of Court

        11/01/2022
Dated: __________________                                                                                C. Lam
                                                                                                     By ________________________
                                                                                                                Deputy Clerk
LACIV 132 (Rev. 07/13)                                                                                        Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                          NOTICE OF                                                           LASC Local Rules, Chapter 7KUHH
For Optional Use                CASE MANAGEMENT CONFERENCE
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 51 of 68 Page ID #:72




                        Exhibit 4
                 Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 52 of 68 Page ID #:73
Electronically FILED by Superior Court of California, County of Los Angeles on 11/28/2022 03:00 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Gregg,Deputy Clerk
                                                                                                                                                                             POS-010
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                                         FOR COURT USE ONLY
      Yohan Lee | SBN: 259271
      Law Offices of Yohan Lee
      5681 Beach Blvd., Suite 200 Buena Park, CA 90621
     TELEPHONE NO.: (714) 523-2700 | FAX NO. (714) 523-7100 | E-MAIL ADDRESS (Optional): ylee@yleelaw.com;tkim@yleelaw.com;hykim@yleelaw.com
      ATTORNEY FOR (Name): Plaintiff: Jee Yeon Seung



    Los Angeles County Superior Court
            STREET ADDRESS: 111     North Hill Street
           MAILING ADDRESS: 111     North Hill Street
           CITY AND ZIP CODE: Los   Angeles, CA 90012
               BRANCH NAME: Stanley     Mosk Courthouse - Central
        PLAINTIFF: Jee Yeon Seung                                                                                                CASE NUMBER:


     DEFENDANT: First Intercontinental Bank                                                                                      22STCV34548

                                                                                                                                 Ref. No. or File No.:
                                          PROOF OF SERVICE OF SUMMONS                                                                        Seung vs. First Intercontinental

  1. At the time of service I was at least 18 years of age and not a party to this action.
  2. I served copies of:

      a.       Summons
      b.       Complaint
      c.       Alternative Dispute Resolution (ADR) package
      d.       Civil Case Cover Sheet (served in complex cases only)
      e.       Cross-complaint
      f.       other (specify documents): Civil Case Cover Sheet; Civil Case Cover Sheet Addendum; Notice Of Case Assignment; First
               Amended General Order; Voluntary Efficient Litigation Stipulations Packet; Order Pursuant to CCP 1054(a), Exending Time
               to Respond by 30 Days When Parties Agree to Early Organizational Meeting Stipulation
  3. a. Party served (specify name of party as shown on documents served):
      First Intercontinental Bank, a Georgia corporation

      b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
               item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
           Patty Kim - Agent for Service
  4. Address where the party was served: 3345 Wilshire Blvd Ste 100
                                                        Los Angeles, CA 90010-1902
  5. I served the party (check proper box)
     a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
            receive service of process for the party (1) on (date): (2) at (time):

      b.       by substituted service. On (date): 11/9/2022 at (time): 3:12 PM I left the documents listed in item 2 with or
               in the presence of (name and title or relationship to person indicated in item 3b):
                Jennie Lee - Employee- Person Apparently in Charge
                  Age: 51-55                 Weight: 121-140 Lbs Hair: Black                        Sex: Female
                  Height: 5'1 - 5'6          Eyes:               Race: Asian

               (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                          person to be served. I informed him of her of the general nature of the papers.

               (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                          abode of the party. I informed him or her of the general nature of the papers.

               (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                          address of the person to be served, other than a United States Postal Service post office box. I informed him of
                          her of the general nature of the papers.

               (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                          place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                          (date): from (city):                                                 or   a declaration of mailing is attached.

               (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.                                                         Page 1 of 2
  Form Approved for Mandatory Use                                                                                                                         Code of Civil Procedure, § 417.10
  Judicial Council of California                               PROOF OF SERVICE OF SUMMONS
  POS-010 [Rev. January 1, 2007]                                                                                                                                POS010-1/345255A
               Case 2:22-cv-08919-JFW-AS
          PETITIONER: Jee Yeon Seung                             Document 1-3 Filed 12/09/22 Page 53NUMBER:
                                                                                                CASE of 68 Page ID #:74
                                                                                                                        22STCV34548
      RESPONDENT: First Intercontinental Bank


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                         (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of (specify): First Intercontinental Bank, a Georgia Corporation
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: V. ENRIQUE MENDEZ - DDS Legal Support
   b. Address: 2900 Bristol Street Costa Mesa, CA 92626
   c. Telephone number: (714) 662-5555
   d. The fee for service was: $ 71.67
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 3428
                  (iii) County: LOS ANGELES

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 11/14/2022
                DDS Legal Support
                2900 Bristol Street
                Costa Mesa, CA 92626
                (714) 662-5555
                www.ddslegal.com



                              V. ENRIQUE MENDEZ
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                             Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/345255A
                  Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 54 of 68 Page ID #:75
Attorney or Party without Attorney:                                                                                                          FOR COURT USE ONLY

   Yohan Lee, SBN: 259271
   Law Offices of Yohan Lee
   5681 Beach Blvd., Suite 200
   Buena Park, CA 90621                                                                   ylee@yleelaw.com;tkim@yleel
                                                                  E-MAIL ADDRESS (Optional):
                                                                 aw.com;hykim@yleelaw.com
TELEPHONE No.:      (714) 523-2700                         FAX No. (Optional): (714) 523-7100
                                                                                                Ref No. or File No.:
Attorney for:   Plaintiff Jee Yeon Seung
                                                                                               Seung vs. First Intercontinental
Insert name of Court, and Judicial District and Branch Court:

   Los Angeles County Superior Court - Stanley Mosk Courthouse - Central

   Plaintiff:   Jee Yeon Seung
Defendant:      First Intercontinental Bank

                                                                        HEARING DATE:                      TIME:       DEPT.:      CASE NUMBER:
          PROOF OF SERVICE                                                                                              19                    22STCV34548
              BY MAIL

1. I am over the age of 18 and not a party to this action. I am employed in the county where the mailing occured.

2. I served copies of the Summons; Complaint; Alternative Dispute (ADR) package; Civil Case Cover Sheet; Civil Case
   Cover Sheet Addendum; Notice Of Case Assignment; First Amended General Order; Voluntary Efficient Litigation
   Stipulations Packet; Order Pursuant to CCP 1054(a), Exending Time to Respond by 30 Days When Parties Agree to Early
   Organizational Meeting Stipulation

3. By placing a true copy thereof enclosed in a sealed envelope, with First Class postage thereon fully prepaid, in the United
   States Mail at Costa Mesa, California, addressed as follows:

   a. Date of Mailing:                                          November 10, 2022
   b. Place of Mailing:                                         Costa Mesa, CA
   c. Addressed as follows:                                     First Intercontinental Bank, a Georgia corporation
                                                                ATTENTION: Patty Kim - Agent for Service
                                                                3345 Wilshire Blvd Ste 100
                                                                Los Angeles, CA 90010-1902

I am readily familiar with the firm's practice for collection and processing of documents for mailing. Under that practice, it
would be deposited within the United States Postal Service, on that same day, with postage thereon fully prepaid at Costa
Mesa, California in the ordinary course of business.




Fee for Service: $ 71.67
        DDS Legal Support                                                                          I declare under penalty of perjury under the laws of the
        2900 Bristol Street                                                                        The State of California that the foregoing information
        Costa Mesa, CA 92626                                                                       contained in the return of service and statement of
        (714) 662-5555                                                                             service fees is true and correct and that this declaration
        Ref: Seung vs. First Intercontinental                                                      was executed on November 14, 2022.


                                                                                                   Signature:
                                                                                                                                Monica Figueroa

                                                                     PROOF OF SERVICE BY MAIL
                                                                                                                                                  Order#: 345255A/mailproof
Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 55 of 68 Page ID #:76




                         Exhibit 5
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 56 of 68 Page ID #:77

   Electronically FILED by Superior Court of California, County of Los Angeles on 12/07/2022 12:14 PM Sherri R. Carter, Executive Officer/Clerk of Court, by A. Miro,Deputy Clerk



                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        JOHN L. BARBER, SB# 160317
                      2   E-Mail: John.Barber@lewisbrisbois.com
                        JOHN HAUBRICH, JR., SB# 228341
                      3   E-Mail: John.Haubrich@lewisbrisbois.com
                        TIFFANY H. ROUHI, SB# 315948
                      4   E-Mail: Tiffany.Rouhi@lewisbrisbois.com
                        633 West 5th Street, Suite 4000
                      5 Los Angeles, California 90071
                        Telephone: 213.250.1800
                      6 Facsimile: 213.250.7900

                      7 Attorneys for Defendant,
                        First IC Bank erroneously sued as First
                      8 Intercontinental Bank

                      9                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     10                                    COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                     11

                     12 JEE YEON SEUNG, an individual,                                                  Case No. 22STCV34548

                     13                          Plaintiff,                                             Assigned for All Purposes to:
                                                                                                        Hon. Stephanie Bowick , Dept. 19
                     14              vs.
                                                                                                        DEFENDANT FIRST IC BANK’S
                     15 FIRST INTERCONTINENTAL BANK, a                                                  ANSWER TO PLAINTIFF’S
                        Georgia Corporation; and DOES 1 to 100,                                         UNVERIFIED COMPLAINT
                     16 inclusive,

                     17                          Defendant.                                             Action Filed:                     10/28/22
                                                                                                        Trial Date:                       None Set
                     18

                     19              Defendant First IC Bank (hereinafter “Defendant”) hereby responds to the unverified

                     20 Complaint of Plaintiff JEE YEON SEUNG (“Plaintiff”) as follows:

                     21                                                              GENERAL DENIAL

                     22              1.          Pursuant to California Code of Civil Procedure section 431.30, Defendant denies

                     23 each, every and all of the allegations of said Complaint, and the whole thereof, and denies that

                     24 Plaintiff sustained damages in the sums alleged, or in any other sum or at all.

                     25              2.          Defendant further denies Plaintiff suffered injury, damage or loss, if any, by reason

                     26 of any act or omission on the part of Defendant, or any of its past or present agents, representatives

                     27 or employees.

                     28              3.          Defendant has not completed its investigation of the facts of this case, has not
LEWIS
BRISBOIS
BISGAARD                  4865-6730-3744.1
& SMITH LLP
ATTORNEYS AT LAW                        DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 57 of 68 Page ID #:78




                      1 completed discovery in this matter and has not completed its preparation for trial. The defenses

                      2 stated herein are based on Defendant’s knowledge, information and belief at this time. Defendant

                      3 specifically reserve the right to modify, amend or supplement any defense contained herein at any

                      4 time. Without conceding that it bears the burden of proof or persuasion, Defendant asserts the

                      5 following separate affirmative defenses to the Complaint.

                      6                                         AFFIRMATIVE DEFENSES

                      7                                     FIRST AFFIRMATIVE DEFENSE

                      8                                      (Failure to State a Cause of Action)

                      9            4.        Neither the Complaint nor any purported cause of action alleged therein states a claim
                     10 upon which relief can be granted.

                     11                                    SECOND AFFIRMATIVE DEFENSE

                     12                             (Failure to Plead with Certainty and Particularity)

                     13            5.        The allegations in the Complaint and each and every purported cause of action

                     14 therein are not pled with sufficient particularity and are uncertain, vague, ambiguous and

                     15 unintelligible.

                     16                                     THIRD AFFIRMATIVE DEFENSE

                     17                                            (Statute of Limitations)

                     18            6.        Plaintiff’s claims are barred in whole or in part to the extent the events complained

                     19 of took place more than one (1) year prior to the filing of Plaintiff’s Complaint with the California

                     20 Department of Fair Employment and Housing, and one (1) year prior to the filing of the Complaint,

                     21 and thus Plaintiff’s claims are barred by Government Code section 12965(b). Plaintiff’s claims are

                     22 further barred by the statute of limitations contained in Code of Civil Procedure sections 335.1, 338,

                     23 339, 340, 343, Labor Code section 132(a), and/or any other applicable statute.

                     24                                    FOURTH AFFIRMATIVE DEFENSE

                     25                         (Plaintiff Did Not Exhaust Internal Grievance Procedures)

                     26            7.        Defendant asserts, without admitting to any of the allegations contained in the

                     27 Complaint, that Plaintiff failed to utilize or exhaust, in good faith, reasonable internal grievance

                     28 procedures, thus failing to avoid the consequences of any alleged unlawful act.
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                     2
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 58 of 68 Page ID #:79




                      1                                     FIFTH AFFIRMATIVE DEFENSE

                      2                                                (No Ratification)

                      3            8.        Defendant has not taken any action with a conscious disregard of Plaintiff’s rights,

                      4 and has not engaged in any conduct with respect to Plaintiff that would constitute oppression, fraud

                      5 or malice, nor has Defendant ratified or approved any such act or acts of others.

                      6                                     SIXTH AFFIRMATIVE DEFENSE

                      7                                             (Good Faith Dispute)

                      8            9.        Plaintiff’s claims for penalties under the California Labor Code and/or under other

                      9 applicable California law are barred as Plaintiff failed to plead sufficient facts to support a claim for
                     10 an award of penalties against Defendant and because there existed and continue to exist a good-faith

                     11 dispute on whether Defendant owes any monies to Plaintiff.

                     12                                   SEVENTH AFFIRMATIVE DEFENSE

                     13                                (Vague, Uncertain and Speculative Damages)

                     14            10.       Plaintiff is precluded from recovering the damages alleged in the Complaint because

                     15 the damages are too vague, uncertain and speculative to permit recovery.

                     16                                    EIGHTH AFFIRMATIVE DEFENSE

                     17                                            (No Punitive Damages)

                     18            11.       Defendant cannot be held liable for punitive damages because Plaintiff failed to state

                     19 facts sufficient to show that Defendant was guilty of malice, oppression or fraud.

                     20                                     NINTH AFFIRMATIVE DEFENSE

                     21                                     (Punitive Damages Unconstitutional)

                     22            12.       Although Defendant denies that they committed or have responsibility for any act

                     23 that could support the recovery of punitive damages alleged in Plaintiff’s Complaint, to the extent

                     24 any such act is found, recovery of punitive damages against Defendant is unconstitutional under the

                     25 due process clause.

                     26                                     TENTH AFFIRMATIVE DEFENSE

                     27                                          (After-Acquired Evidence)

                     28            13.       Plaintiff’s Complaint is limited or subject to an absolute bar as to recoverable
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                     3
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 59 of 68 Page ID #:80




                      1 damages based on after-acquired evidence Defendant has presently and/or may acquire during the

                      2 course of this litigation.

                      3                                  ELEVENTH AFFIRMATIVE DEFENSE

                      4                                        (No Severe Emotional Distress)

                      5            14.       Plaintiff did not sustain severe emotional distress as a result of any act or omission

                      6    attributable to Defendant.

                      7                                   TWELFTH AFFIRMATIVE DEFENSE

                      8                                 (Pre-Existing Physical or Mental Condition)

                      9            15.       Plaintiff is not entitled to recover damages to the extent that any purported physical
                     10 or emotional distress damages allegedly suffered by Plaintiff was caused by any pre-existing

                     11 physical or mental condition(s).

                     12                                 THIRTEENTH AFFIRMATIVE DEFENSE

                     13                                              (Failure to Mitigate)

                     14            16.       Defendant alleges that Plaintiff has failed to mitigate damages, if any, and that said

                     15 failure to mitigate has proximately caused or contributed to the matters complained of and the

                     16 damages alleged in the Complaint, if any. Therefore, the amount of damages to which Plaintiff is

                     17 entitled, if any, should be reduced by the amount of damages that would have otherwise been

                     18 mitigated.

                     19                                FOURTEENTH AFFIRMATIVE DEFENSE

                     20                                             (No Actual Damages)

                     21            17.       Plaintiff has failed to meet her burden inasmuch as he has not proven actual damages.

                     22                                  FIFTEENTH AFFIRMATIVE DEFENSE

                     23                                          (No Prejudgment Interest)

                     24            18.       Defendant is informed and believes and based thereon allege that Plaintiff’s claim

                     25 for prejudgment interest pursuant to California Civil Code section 3287 is barred because Plaintiff

                     26 sustained no damages.

                     27

                     28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                     4
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 60 of 68 Page ID #:81




                      1                                 SIXTEENTH AFFIRMATIVE DEFENSE

                      2                                              (Good Faith Belief)

                      3            19.       Defendant is informed and believes and thereon allege that Plaintiff’s Complaint,

                      4 and each and every cause of action set forth therein alleged against Defendant is barred, in whole

                      5 or in part, because actions taken with respect to Plaintiff’s employment, if any, were based on an

                      6 honest, reasonable and good faith belief in the facts as known and understood at the time.

                      7                               SEVENTEENTH AFFIRMATIVE DEFENSE

                      8                                                    (Laches)

                      9            20.       Plaintiff’s claims as set forth in the Complaint are barred by the equitable doctrine
                     10 of laches.

                     11                                EIGHTEENTH AFFIRMATIVE DEFENSE

                     12                                               (Unclean Hands)

                     13            21.       Defendant is informed and believes and thereon allege that Plaintiff’s Complaint is

                     14 barred, in its entirety, by the doctrine of unclean hands. Defendant may learn facts in written

                     15 discovery and/or at Plaintiff’s deposition that may demonstrate Plaintiff’s own wrongful conduct

                     16 caused or contributed to the allegations set forth in the Complaint, which would allow Defendant to

                     17 assert the equitable remedy of unclean hands at the time of trial.

                     18                                NINETEENTH AFFIRMATIVE DEFENSE

                     19                                                   (Estoppel)

                     20            22.       Defendant is informed and believes and thereon allege that Plaintiff is estopped by

                     21 her own conduct from asserting any and all claims he may have against Defendant arising from the

                     22 transactions and occurrences set forth in the Complaint. Defendant may learn facts in written

                     23 discovery and/or at Plaintiff’s deposition that may demonstrate Plaintiff’s own wrongful conduct

                     24 caused or contributed to the allegations set forth in the Complaint, which would allow Defendant to

                     25 assert the equitable remedy of estoppel at the time of trial.

                     26                                 TWENTIETH AFFIRMATIVE DEFENSE

                     27                                            (Business Justification)

                     28            23.       Defendant’s activities undertaken with respect to Plaintiff was justified as such
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                     5
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 61 of 68 Page ID #:82




                      1 activities were proper, fair and legitimate business activities and/or due to business-related reasons

                      2 that were not arbitrary, capricious or unlawful.

                      3                                TWENTY-ONE AFFIRMATIVE DEFENSE

                      4                                        (No Regular Business Practice)

                      5            24.       Plaintiff’s Complaint fails to establish a regular business practice or unlawful pattern

                      6 of conduct by Defendant.

                      7                              TWENTY-SECOND AFFIRMATIVE DEFENSE

                      8                                                (No Wages Owed)

                      9            25.       Defendant is informed and believes and based thereon allege that Plaintiff’s claims
                     10 for unpaid wages are barred because Defendant timely paid all wages owed to her.

                     11                               TWENTY-THIRD AFFIRMATIVE DEFENSE

                     12                                              (All Wages Received)

                     13            26.       Plaintiff’s Complaint and each alleged cause of action is barred, in whole or in part,

                     14 because Plaintiff has received all income and wages to which he has ever been entitled.

                     15                              TWENTY-FOURTH AFFIRMATIVE DEFENSE

                     16                                         (Meal Periods Were Provided)

                     17            27.       Pursuant to the California Labor Code and applicable Industrial Welfare Commission

                     18 Wage Order, Defendant “provided” Plaintiff with required meal periods.

                     19                               TWENTY-FIFTH AFFIRMATIVE DEFENSE

                     20                                            (Waiver of Meal Periods)

                     21            28.       Defendant is informed and believes and based thereon allege that Plaintiff’s claim

                     22 for failure to provide meal periods is barred, in whole or in part, because Plaintiff waived her rights

                     23 to some or all of the meal periods implicated in the Complaint by voluntarily choosing not to take

                     24 part in all the meal periods that were provided as required by law.

                     25                               TWENTY-SIXTH AFFIRMATIVE DEFENSE

                     26                               (No Attorneys’ Fees for Meal Break Violations)

                     27            31.       Pursuant to Kirby v. Imoos Fire Protection, 53 Cal.4th 1244 (2012), Plaintiff is not

                     28 entitled to recover attorneys’ fees on her cause of action for violation of California Labor Code
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                      6
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 62 of 68 Page ID #:83




                      1 section 226.7.

                      2                             TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                      3                                          (Avoidable Consequences)

                      4            34.       Plaintiff has a duty to use such means as are reasonable under the circumstances to

                      5 avoid or mitigate alleged damages that result from statutory violations, if any. To the extent there

                      6 was any statutory violation (which is not admitted, but considered solely for purpose of this

                      7 affirmative defense), Plaintiff unreasonably failed to avoid or reduce harm. This includes an

                      8 obligation that if Plaintiff felt he was not paid wages and/or not provided with accurate wage

                      9 statements and/or was not provided with meal periods and/or was not permitted rest breaks and/or
                     10 was not paid meal or rest break premiums for non-compliant meal and rest breaks and/or was not

                     11 reimbursed for business expenses and/or was not paid wages timely during employment and/or was

                     12 not paid wages timely upon separation of employment, Plaintiff had an obligation to utilize

                     13 Defendant’s internal complaint procedures and timely bring that to the attention of Defendant’s

                     14 management and supervisors so that if there was any violation, it would be promptly corrected and

                     15 remedied and would not be allowed to repeat and recur. Plaintiff is therefore barred from any

                     16 recovery based on any harm that could have been reasonably avoided.

                     17                              TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                     18                                          (Faragher/Ellerth Defense)

                     19            35.       Defendant alleges that it is entitled to all applicable defenses as set forth by the

                     20 United States Supreme Court in Faragher v. City of Boca Raton, 524 U.S. 775 (1998) and

                     21 Burlington Indus. v. Ellerth, 524 U.S. 742 (1998), including, but not limited to, Defendant

                     22 maintained a comprehensive policy to ensure payment of all wages; Defendant followed the

                     23 procedures set forth in that policy; and Plaintiff did not avail herself to any or all of the procedures

                     24 set forth in that policy.

                     25                               TWENTY-NINTH AFFIRMATIVE DEFENSE

                     26                           (Defendant’s Practices Were Not Deceptive or Unfair)

                     27            36.       Without admitting the allegations of the Complaint, Defendant alleges that Plaintiff’s

                     28 claims are barred in that the alleged practices did not occur and are not unfair and, in any event, the
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                     7
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 63 of 68 Page ID #:84




                      1 public would not likely be deceived by the alleged practices, that Defendant would gain no

                      2 competitive advantage by such alleged practices and the benefits of the alleged practices outweigh

                      3 any harm or other impact they have caused.

                      4                                  THIRTIETH AFFIRMATIVE DEFENSE

                      5                       (No Violation of Business and Professions Code Section 17200)

                      6            37.       Defendant did not engage in unfair or deceptive acts or practices or unfair methods

                      7 of competition or unfair business practices.

                      8                                THIRTY-FIRST AFFIRMATIVE DEFENSE

                      9                                (Failure to Exhaust Administrative Remedies)
                     10            38.       Defendant is informed and believes and thereon allege that all causes of action within

                     11 the Complaint are barred because Plaintiff failed to satisfy the statutory prerequisites to sue and to

                     12 exhaust administrative remedies under the Fair Employment and Housing Act (“FEHA”),

                     13 Government Code section 12940 et seq. or the Equal Employment Opportunity Commission

                     14 (“EEOC”), 42 U.S.C. section 2000e et seq. (Title VII of the Civil Rights Act of 1964 [“Title VII”]),

                     15 and/or any other applicable administrative remedy.

                     16                              THIRTY-SECOND AFFIRMATIVE DEFENSE

                     17                                              (Business Necessity)

                     18            39.       Defendant is informed and believes and thereon allege that their actions, if any, were

                     19 required by business necessity.

                     20                                THIRTY-THIRD AFFIRMATIVE DEFENSE

                     21                                                (Lack of Pretext)

                     22            40.       Defendant is informed and believes and thereon allege that Plaintiff cannot establish

                     23 that Defendant articulated reason for her separation of employment with Defendant was a pretext

                     24 for unlawful discrimination, retaliation, and/or violation of public policy.

                     25                              THIRTY-FOURTH AFFIRMATIVE DEFENSE

                     26                                          (No Public Policy Violation)

                     27            41.       Defendant believes and thereon alleges that the public policies cited by Plaintiff in

                     28 the Complaint cannot serve as the foundation for a claim of wrongful discharge in violation of public
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                     8
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 64 of 68 Page ID #:85




                      1 policy to the extent that Plaintiff never complained regarding Defendant’s alleged violations or

                      2 noncompliance with city, state, or federal regulations, and Defendant never retaliated against

                      3 Plaintiff based on any complaints of noncompliance.

                      4                                THIRTY-FIFTH AFFIRMATIVE DEFENSE

                      5                                     (Legitimate Non-Retaliatory Actions)

                      6            42.       Plaintiff is barred from any recovery in this action because all of Defendant’s actions

                      7 toward Plaintiff were taken for legitimate and non-retaliatory reasons.

                      8                                THIRTY-SIXTH AFFIRMATIVE DEFENSE

                      9                                                (Mixed-Motive )
                     10            43.       Plaintiff is precluded from recovery of reinstatement, back pay, or damages because
                     11 of the mixed motive doctrine. (Harris v. City of Santa Monica (2013) 56 Cal.4th 203, 232.)

                     12 Plaintiff’s causes of action are barred in whole or in part because, because, even if Defendant’s

                     13 actions were motivated in part by an unlawful reason, such as discrimination or retaliation, which

                     14 Defendant denies, Defendant would have taken the same action against Plaintiff regardless of any

                     15 alleged unlawful reason, and the unlawful reason was not a substantial factor.

                     16                              THIRTY-SEVENTH AFFIRMATIVE DEFENSE

                     17                                        (No Malice, Fraud, Oppression)

                     18            44.       Defendant is informed and believes and thereon allege that their actions were not

                     19 willful, malicious, fraudulent, oppressive, intentional, or tortious and Plaintiff’s claims are not

                     20 authorized pursuant to California Civil Code section 3294.

                     21                               THIRTY-EIGHTH AFFIRMATIVE DEFENSE

                     22                                             (At-Will Employment)

                     23            45.       Defendant maintains that Plaintiff’s Complaint is barred, in whole or in part, because

                     24 its’ conduct was privileged as an exercise of its legal right to terminate at-will employees.

                     25 / / /

                     26 / / /

                     27 / / /

                     28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                      9
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 65 of 68 Page ID #:86




                      1                               THIRTY-NINTH AFFIRMATIVE DEFENSE

                      2                                        (Good Cause for Termination)

                      3            46.       If Plaintiff’s employment was terminated, it was for good cause and sufficient non-

                      4 discriminatory and non-retaliatory reasons. Accordingly, Plaintiff is barred from any recovery in

                      5 this action.

                      6                                  FORTIETH AFFIRMATIVE DEFENSE

                      7                                (Maintenance of Policies Against Retaliation)

                      8            47.       Defendant alleges that it maintained and enforced strict policies against retaliation

                      9 during the time in which Plaintiff alleges retaliation.
                     10                                FORTY-FIRST AFFIRMATIVE DEFENSE

                     11                                                (No Retaliation)

                     12            48.       Plaintiff is precluded from recovery of reinstatement, back pay or damages because

                     13 Defendant did not authorize, direct, or participate in any alleged retaliatory conduct against Plaintiff

                     14 on any protected basis.

                     15                               FORTY-SECOND AFFIRMATIVE DEFENSE

                     16                                          (Workers’ Compensation)

                     17            49.       Defendant alleges that Plaintiff is barred from seeking any damages for purported

                     18 physical, mental, or emotional injuries allegedly suffered as a result of her employment in that the

                     19 sole and exclusive remedy in this respect is and was governed by the California Workers’

                     20 Compensation Act, California Labor Code sections 3200-4627.

                     21                                FORTY-THIRD AFFIRMATIVE DEFENSE

                     22                                         (No Overtime Wages Owed)

                     23            50.       Defendant is informed and believes and thereon allege that Plaintiff’s claims for

                     24 unpaid overtime are barred because Defendant timely paid all wages owed to her.

                     25                               FORTY-FOURTH AFFIRMATIVE DEFENSE

                     26                                           (Arbitration Agreement)

                     27            51.       The Complaint as a whole, and each purported cause of action alleged therein, is

                     28 barred in whole or in part to the extent that Plaintiff signed a legally valid agreement to arbitrate any
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                    10
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 66 of 68 Page ID #:87




                      1 dispute, claim or controversy arising out of her employment.

                      2                                FORTY-FIFTH AFFIRMATIVE DEFENSE

                      3                                             (Unknown Defenses)

                      4            52.       Defendant is informed and believes and based thereon allege that they may have

                      5 other separate and/or additional defenses of which it is not presently aware, and hereby reserve the

                      6 right to assert them by amendment to this Answer as discovery continues.

                      7                                           PRAYER FOR RELIEF

                      8            WHEREFORE, Defendant prays for judgment as follows:

                      9            1.        That Plaintiff take nothing by way of her Complaint;
                     10            2.        That the Complaint and each claim be dismissed in its entirety with prejudice;
                     11            3.        That Plaintiff is denied each and every Complaint and prayer for relief contained in
                     12                      the Complaint;
                     13            4.        That Defendant is awarded costs and reasonable attorneys’ fees that it has incurred
                     14                      in defending this lawsuit as permitted by statute or otherwise allowed by law; and
                     15            5.        That Defendant is granted such other and further relief as the Court deems just
                     16                      and proper.
                     17

                     18 Dated: December 7, 2022                         LEWIS BRISBOIS BISGAARD & SMITH LLP

                     19

                     20
                                                                        By:
                     21                                                       John L. Barber
                                                                              John Haubrich, Jr.
                     22                                                       Tiffany H. Rouhi
                                                                              Attorneys for Defendant, First IC Bank
                     23
                                                                              erroneously sued as First Intercontinental Bank
                     24

                     25

                     26

                     27

                     28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                    11
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                   Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 67 of 68 Page ID #:88




                      1                         CALIFORNIA STATE COURT PROOF OF SERVICE
                                                   Jee Yeon Seung v. First Intercontinental Bank, et al.
                      2                   Los Angeles Superior Court - Central District Case No.: 22STCV34548
                                        Assigned for All Purposes to the Hon. Stephanie M. Bowick - Department 19
                      3                                         Client/Matter: 32571-2769

                      4 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                      5          At the time of service, I was over 18 years of age and not a party to this action. My
                          business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071.
                      6
                               On December 7, 2022, I served true copies of the following document DEFENDANT
                      7 FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT on the
                        following persons at the following addresses (including fax numbers and e-mail addresses, if
                      8 applicable):

                      9            Yohan Lee, Esq.                                 Attorney for Plaintiff,
                                   LAW OFFICES OF YOHAN LEE                        Jee Yeon Seung
                     10            5681 Beach Boulevard, Suite 200
                                   Buena Park, California 90621
                     11            Phone: (714) 523-2700
                                   Fax:   (714) 523-7100
                     12            E-Mail: ylee@yleelaw.com

                     13
                                   BY ELECTRONIC TRANSMISSION ONLY
                     14
                                Only by e-mailing the document(s) to the persons at the e-mail address(es) listed above
                     15 based on notice provided on March 16, 2020 that, during the Coronavirus (COVID-19) pandemic,
                        this office will be working remotely, not able to send physical mail as usual, and is therefore using
                     16 only electronic mail. No electronic message or other indication that the transmission was
                        unsuccessful was received within a reasonable time after the transmission.
                     17
                                I declare under penalty of perjury under the laws of the State of California that the
                     18 foregoing is true and correct. Executed on December 7, 2022, at Los Angeles, California.

                     19

                     20
                                                                            Norma Chanes
                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                          4865-6730-3744.1                                 12
ATTORNEYS AT LAW                      DEFENDANT FIRST IC BANK’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
     Case 2:22-cv-08919-JFW-AS Document 1-3 Filed 12/09/22 Page 68 of 68 Page ID #:89



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Stanley Mosk Courthouse
Mailing Address: 111 North Hill Street
City, State and Zip Code: Los Angeles CA 90012



SHORT TITLE: JEE YEON SEUNG vs FIRST INTERCONTINENTAL BANK                   CASE NUMBER:
                                                                             22STCV34548
         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Legal Connect
Reference Number: 6747679_2022_12_07_12_10_30_209_6
Submission Number: 22LA01549856
Court Received Date: 12/07/2022
Court Received Time: 12:14 pm
Case Number: 22STCV34548
Case Title: JEE YEON SEUNG vs FIRST INTERCONTINENTAL BANK
Location: Stanley Mosk Courthouse
Case Type: Civil Unlimited
Case Category: Wrongful Termination
Jurisdictional Amount: Over $25,000
Notice Generated Date: 12/07/2022
Notice Generated Time: 1:59 pm

Documents Electronically Filed/Received                 Status

Answer                                                 Accepted




Comments
Submitter's Comments:

Clerk's Comments:

Electronic Filing Service Provider Information
Service Provider: Legal Connect
Contact: Legal Connect
Phone: (800) 909-6859




                                     NOTICE OF CONFIRMATION OF FILING
